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       ORDERED in the Southern District of Florida on April 12, 2024.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION


       IN THE MATTER OF:
       PAULO MARCELO BOCATO                              CASE NO.:      22-18845-RAM
                                                         CHAPTER        13

                      Debtor            /

                        ORDER DENYING TRUSTEE’S MOTION FOR CONTEMPT

                THIS MATTER came before the Court on February 13, 2024, upon the Chapter 13

       Trustee’s Motion for Contempt [DE #202] (the “Motion”). The Court having considered the

       Motion, having heard the argument of counsel, and being otherwise advised in the premises,

       it is,

                 ORDERED as follows:

                 1.   The Motion for Contempt is DENIED.

                 2.   The Debtor shall make a good faith effort to obtain his children’s medical and
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other expenses prior to March 31, 2024.

        3.     The Court further holds that Hamilton v Lanning, 560 U.S. 505 (2010),

applies and that the Debtor’s post-petition income shall be used in calculating the Debtor

disposable monthly income.

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Submitted by:
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Attorney Rachamin Cohen, Esq. is directed to serve copies of this Order on all
interested parties and file a Certificate of Service with the Court.
